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Fill in this information to identify the case:
Debtor name: The Roman Catholic Church of the Archdiocese of New Orleans

United States Bankruptcy Court for the: Eastern District of Louisiana

Case number (if known): 20-10846

                                                                                                                    þ Check if this is an
                                                                                                                             amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                             04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:    Income

1. Gross revenue from business

    ¨ None
     Identify the beginning and ending dates of the debtor’s fiscal year,   Sources of revenue                Gross revenue
     which may be a calendar year                                           (Check all that apply)            (before deductions and
                                                                                                              exclusions)


     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $52,077,847.001
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $772,358.002
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $725,665.003
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $4,952,529.004
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $5,815,252.005
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $6,882,899.006
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $7,208,972.007
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $4,418,209.008
     fiscal year to filing date:
                                                                            þ Other: OPERATING

     From the beginning of the
                                         From 7/1/2019 to 4/30/2020
                                                                            ¨ Operating a business            $3,429,202.009
     fiscal year to filing date:
                                                                            þ Other: OPERATING


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                                                                                                        EXHIBIT 4
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     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $4,329,429.0010
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $2,359,258.0011
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     From the beginning of the
                                      From 7/1/2019 to 4/30/2020
                                                                         ¨ Operating a business          $5,228,232.0012
     fiscal year to filing date:
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $62,896,716.001
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $2,218,829.002
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $845,272.003
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $5,271,809.004
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $6,003,387.005
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $6,923,945.006
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $8,127,563.007
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,783,815.008
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $3,288,867.009
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,318,955.0010
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $4,019,315.0011
                                                                         þ Other: OPERATING

     For prior year:                  From 7/1/2018 to 6/30/2019
                                                                         ¨ Operating a business          $5,272,260.0012
                                                                         þ Other: OPERATING


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       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $44,341,175.001
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $2,469,678.002
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $958,825.003
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $5,410,874.004
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $6,311,364.005
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $6,685,081.006
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $7,408,471.007
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,857,062.008
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $3,084,917.009
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,183,591.0010
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $4,231,877.0011
                                                                              þ Other: OPERATING

       For the year before that:           From 7/1/2017 to 6/30/2018
                                                                              ¨ Operating a business          $5,662,688.0012
                                                                              þ Other: OPERATING

1
    ARCHDIOCESE OF NEW ORLEANS - ADMINISTRATIVE OFFICES
2
    ST. LOUIS CATHEDRAL
3
    OUR LADY OF GUADALOUPE
4
    ACADEMY OF OUR LADY
5
    ARCHBISHOP CHAPELLE HIGH SCHOOL
6
    ARCHBISHOP HANNON HIGH SCHOOL
7
    ARCHBISHOP RUMMEL HIGH SCHOOL
8
    ARCHBISHOP SHAW HIGH SCHOOL
9
    POPE JOHN PAUL II HIGH SCHOOL

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10
     ST. CHARLES CATHOLIC HIGH SCHOOL
11
     ST. MICHAEL SPECIAL SCHOOL FOR EXCEPTIONAL CHILDREN
12
     ST. SCHOLASTICA ACADEMY




2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
      lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ¨ None
                                                                                   Description of sources of          Gross revenue from
                                                                                   revenue                            each source
                                                                                                                      (before deductions and
                                                                                                                      exclusions)

                                                                                   RENTS, ROYALTIES,
        From the beginning of the                                                  PROCEEDS FROM SALE OF
                                           From 7/1/2019 to 4/30/2020                                                 $495,886.001
        fiscal year to filing date:                                                ASSETS, GRANTS AND
                                                                                   DONATIONS, OTHER INCOME


                                                                                   RENTAL INCOME, PROCEEDS
                                           From 7/1/2019 to 4/30/2020              FROM SALE OF HISTORIC TAX          $554,911.002
                                                                                   CREDITS


                                           From 7/1/2019 to 4/30/2020              RENTAL INTEREST, INCOME            $3,592.003


                                           From 7/1/2019 to 4/30/2020              INTEREST INCOME                    $59,042.004


                                           From 7/1/2019 to 4/30/2020              INTEREST INCOME                    $89,971.005


                                           From 7/1/2019 to 4/30/2020              INTEREST INCOME                    $52,584.006


                                                                                   INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $80,306.007
                                                                                   INCOME


                                                                                   INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $46,460.008
                                                                                   INCOME


                                           From 7/1/2019 to 4/30/2020              INTEREST INCOME                    $9,134.009


                                                                                   INTEREST INCOME, RENTAL
                                           From 7/1/2019 to 4/30/2020                                                 $2,613.0010
                                                                                   INCOME


                                                                                   INTEREST INCOME,
                                           From 7/1/2019 to 4/30/2020              PROCEEDS FROM SALE OF              $52,823.0011
                                                                                   ASSETS


                                           From 7/1/2019 to 4/30/2020              INTEREST INCOME                    $63,950.0012


                                                                                   RENTS, ROYALTIES,
                                                                                   PROCEEDS FROM SALE OF
        For prior year:                    From 7/1/2018 to 6/30/2019                                                 $9,333,416.001
                                                                                   ASSETS, GRANTS AND
                                                                                   DONATIONS, OTHER INCOME


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                                                                            INTEREST INCOME, RENTAL
                                         From 7/1/2018 to 6/30/2019         INCOME, INSURANCE               $292,078.002
                                                                            PROCEEDS, MISC INCOME


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $201.003


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $77,607.004


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $116,471.005
                                                                            ASSETS


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $77,575.006
                                                                            ASSETS, RENTAL INCOME


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $99,444.007


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $63,190.008


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $11,219.009


                                         From 7/1/2018 to 6/30/2019         INTEREST INCOME                 $46,325.0010


                                                                            INTEREST INCOME, LEGAL
                                         From 7/1/2018 to 6/30/2019                                         $1,321,559.0011
                                                                            SETTLEMENT


                                                                            INTEREST INCOME,
                                         From 7/1/2018 to 6/30/2019         PROCEEDS FROM SALE OF           $147,935.0012
                                                                            ASSETS


                                                                            RENTS, ROYALTIES,
                                                                            PROCEEDS FROM SALE OF
     For the year before that:           From 7/1/2017 to 6/30/2018                                         $4,825,376.001
                                                                            ASSETS, GRANTS AND
                                                                            DONATIONS


                                                                            INTEREST INCOME, RENTAL
                                         From 7/1/2017 to 6/30/2018                                         $186,405.002
                                                                            INCOME


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $146.003


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $74,076.004


                                         From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $118,075.005


                                                                            INTEREST INCOME, LAWSUIT
                                         From 7/1/2017 to 6/30/2018                                         $268,068.006
                                                                            SETTLEMENT


                                                                            INTEREST INCOME,
                                         From 7/1/2017 to 6/30/2018         PROCEEDS FROM SALE OF           $106,262.007
                                                                            ASSETS



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Debtor     The Roman Catholic Church of the Archdiocese of New Orleans                           Case number (if known) 20-10846


                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $77,985.008


                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $11,790.009


                                                                       INTEREST INCOME, RENTAL
                                    From 7/1/2017 to 6/30/2018         INCOME, INSURANCE               $10,051.0010
                                                                       PROCEEDS


                                    From 7/1/2017 to 6/30/2018         INTEREST INCOME                 $116,392.0011


                                                                       INTEREST INCOME,
                                    From 7/1/2017 to 6/30/2018         PROCEEDS FROM SALE OF           $134,386.0012
                                                                       ASSTS



1
    ARCHDIOCESE OF NEW ORLEANS - ADMINISTRATIVE OFFICES
2
    ST. LOUIS CATHEDRAL
3
    OUR LADY OF GUADALOUPE
4
    ACADEMY OF OUR LADY
5
    ARCHBISHOP CHAPELLE HIGH SCHOOL
6
    ARCHBISHOP HANNON HIGH SCHOOL
7
    ARCHBISHOP RUMMEL HIGH SCHOOL
8
    ARCHBISHOP SHAW HIGH SCHOOL
9
    POPE JOHN PAUL II HIGH SCHOOL
10
     ST. CHARLES CATHOLIC HIGH SCHOOL
11
     ST. MICHAEL SPECIAL SCHOOL FOR EXCEPTIONAL CHILDREN
12
     ST. SCHOLASTICA ACADEMY




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Debtor      The Roman Catholic Church of the Archdiocese of New Orleans                                                Case number (if known) 20-10846



 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.

       ¨ None
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.1.     AA DOE V ARCHDIOCESE OF                 ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL RELIEF                                                      STATE OF LOUISIANA                          ¨ On appeal
         SOCIETY OF AMERICA, THE
         ROMAN CATHLOIC CHURCH OF
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         THE ARCHDIOCESE OF NEW                                                          421 LOYOLA AVE
         ORLEANS, AND FATHER HENRY                                                       NEW ORLEANS LA 70112
         BRIAN IDGHFILL

         Case number

         19-6200

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.2.     BB DOE V THE ROMAN                      ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         CATHOLIC CHURCH FOR THE                                                         PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                                              STATE OF LOUISIANA                          ¨ On appeal
         ORLEANS,
         SALESIANS OF DON BOSCO,
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         EASTERN PROVINCE IN THE USA                                                     421 LOYOLA AVE
         D/B/A SALESIAN SOCIETY, INC.,                                                   NEW ORLEANS LA 70112
         FATHER JAMES HURLEY F/K/A
         BROTHER
         JAMES HURLEY, ARCHDIOCESE
         OF NEW ORLEANS INDEMNITY,
         INC., AND THE CATHOLIC
         MUTUAL RELIEF SOCIETY OF
         AMERICA

         Case number
         2019-10149

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.3.     BOB ROE V THE ROMAN                     ABUSE CLAIM                             CIVIL DISTRICT COURT FOR THE                þ Pending
         CATHOLIC CHURCH OF THE                                                          PARISH OF ORLEANS
         ARCHDIOCESE OFNEW                                                               STATE OF LOUISIANA                          ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                                         COURTS
                                                                                                                                     ¨ Concluded
         NEW ORLEANS                                                                     421 LOYOLA AVE
                                                                                         NEW ORLEANS LA 70112
         Case number

         2019-12224

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.4.     BRAD ROE V. THE ROMAN                   ABUSE CLAIM                             ORLEANS PARISH CIVIL DISTRICT               þ Pending
         CATHOLIC CHURCH OF THE                                                          COURT
         ARCHDIOCESE OF NEW                                                              421 LOYOLA AVE                              ¨ On appeal
         ORLEANS AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                                         RM 402
                                                                                         NEW ORLEANS LA 70112
                                                                                                                                     ¨ Concluded
         NEW ORLEANS

         Case number

         2020-03463




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Debtor     The Roman Catholic Church of the Archdiocese of New Orleans                           Case number (if known) 20-10846

        Case title                     Nature of case                   Court or agency's name and address   Status of case

7.5.    C.J. DOE V THE ROMAN           ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
        CATHOLIC CHURCH FOR THE                                         PARISH OF ORLEANS
        ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
        ORLEANS, SALESIANS OF DON
        BOSCO, EASTERN PROVINCE IN
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
        THE USA D/B/A SALESIAN                                          421 LOYOLA AVE
        SOCIETY, INC.                                                   NEW ORLEANS LA 70112

        Case number

        2018-12393

        Case title                     Nature of case                   Court or agency's name and address   Status of case

7.6.    CC DOE V THE ROMAN             ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
        CATHOLIC CHURCH OFTHE                                           PARISH OF ORLEANS
        ARCHDIOCESE OF NEW                                              421 LOYOLA AVE                       ¨ On appeal
        ORLEANS,
        ARCHDIOCESE O FNEW
                                                                        RM 402
                                                                        NEW ORLEANS LA 70112
                                                                                                             ¨ Concluded
        ORLEANS INDEMNITY ,INC.,THEC
        ATHOLIC MUTUAL
        RELIEF SOCIETY OF AMERICA,
        AND THE CONGREGATION OF
        THE HOLY
        SPIRIT, PROVINCE OF THE
        UNITED STATES

        Case number
        2020-02983

        Case title                     Nature of case                   Court or agency's name and address   Status of case

7.7.    D.H. V DEFENDANT A,            ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
        DEFENDANT B, AND DEFENDANT                                      PARISH OF ORLEANS
        C                                                               STATE OF LOUISIANA                   ¨ On appeal
        Case number
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
                                                                        421 LOYOLA AVE
        2019-11429
                                                                        NEW ORLEANS LA 70112

        Case title                     Nature of case                   Court or agency's name and address   Status of case

7.8.    DOE, JANE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
        CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
        ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
        ORLEANS                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
        Case number                                                     421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112
        2019-11521

        Case title                     Nature of case                   Court or agency's name and address   Status of case

7.9.    ED ROE V THE ROMAN             ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
        CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
        ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
        ORLEANS, AND CATHOLIC
        CHARITIES ARCHDIOCESE OF
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
        NEW ORLEANS                                                     421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112
        Case number

        2019-12226




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         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.10.    FF DOE V THE ROMAN           ABUSE CLAIM                         CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH FOR THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                               STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, ARCHDIOCESE OF,
         NEW ORLEANS INDEMNITY, INC.,
                                                                          CLERK'S OFFICE, ROOM 402, CIVIL
                                                                          COURTS
                                                                                                               ¨ Concluded
         AND THE CATHOLIC MUTUAL                                          421 LOYOLA AVE
         RELIEF SOCIETY OF AMERICA                                        NEW ORLEANS LA 70112

         Case number

         2019-11587

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.11.    FORMER CORE'S CLEANERS          ENVIRONMENTAL REMEDIATION        STATE OF LOUISIANA -                 þ Pending
         AND/OR CORE'S ONE HOUR                                           DEPARTMENT OF ENVIRONMENTAL
         CLEANERS                                                         QUALITY - OFFICE OF                  ¨ On appeal
         Case number
                                                                          ENVIRONMENTAL ASSESSMENT
                                                                          P.O. BOX 4314
                                                                                                               ¨ Concluded
                                                                          BATON ROUGE LA 70821-4314
         LDEA AI NUMBERS 39267/38731

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.12.    FR. V THE ROMAN CATHOLIC        PERSONAL INJURY                  UNITED STATES DISTRICT COURT         þ Pending
         CHURCH OF THE ARCHDIOCESE                                        EASTERN DISTRICT OF LOUISIANA
         OF NEW ORLEANS, ET AL.                                           500 POYDRAS STREET                   ¨ On appeal
         Case number
                                                                          NEW ORLEANS LA 70130                 ¨ Concluded
         19-CV-14665

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.13.    IN RE CATHOLIC MUTUAL           SUIT HAS NOT BEEN SERVED.        US DEPARTMENT OF JUSTICE             þ Pending
         INSURANCE (WHISTLEBLOWER        THE ARCHDIOCESE HAS              950 PENNSYLVANIA AVE NW
         FEMA CLAIM) UNITED STATES       FORMALLY TENDERED THE            WASHINGTON DC 20530-0001             ¨ On appeal
         EX REL AND {UNDER SEAL} VS.
         {UNDER SEAL}
                                         CLAIM FOR DEFENSE AND
                                         INDEMNITY TO CATHOLIC
                                                                                                               ¨ Concluded
                                         MUTUAL UNDER OUR OFFICER
         Case number                     AND DIRECTOR LIABILITY
                                         COVERAGE. CATHOLIC MUTUAL
         SECOND AMENDED COMPLAINT
                                         HAS DENIED COVERAGE BUT IS
         FOR VIOLATION OF FEDERAL
                                         PAYING DEFENSE COSTS.
         FALSE CLAIMS ACT [31 USC 3729
         ET SEQ.] FILED UNDER SEAL
         PURUSANT TO 31 USC 3730(B)(2)

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.14.    IN RE GN INVESTMENTS LLC C      FORMER PAYROLL SERVICE           US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD          WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.          1 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                          STE 200
                                                                          GRAND RAPIDS MI 49503
                                                                                                               ¨ Concluded
         WESTERN DISTRICT MICHIGAN
                                         COMMITTEE
         CA 19-04262 UNSECURED
         CREDITOR

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.15.    IN RE KAHN AVIATION, INC.       FORMER PAYROLL SERVICE           US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD          WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.          1 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                          STE 200
                                                                          GRAND RAPIDS MI 49503
                                                                                                               ¨ Concluded
         WESTERN DISTRICT MICHIGAN
                                         COMMITTEE
         CA 19-04261 UNSECURED
         CREDITOR




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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.16.    IN RE KRW INVESTMENTS, INC.     FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         2 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 201
                                                                         GRAND RAPIDS MI 49504
                                                                                                              ¨ Concluded
         WESTERN DISTRICT MICHIGAN
                                         COMMITTEE
         CA 19-04264 UNSECURED
         CREDITOR

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.17.    IN RE NAJEEB AHMED KHAN         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         3 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 202
                                                                         GRAND RAPIDS MI 49505
                                                                                                              ¨ Concluded
         WESTERN DISTRICT MICHIGAN
                                         COMMITTEE
         CA 19-04258 UNSECURED
         CREDITOR

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.18.    IN RE NAK HOLDINGS LLC          FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         4 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 203
                                                                         GRAND RAPIDS MI 49506
                                                                                                              ¨ Concluded
         WESTERN DISTRICT CA 19-
                                         COMMITTEE
         04267 UNSECURED CREDITOR

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.19.    IN RE NJ REALTY, LLC            FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         5 DIVISION AVE N                     ¨ On appeal
         US BANKRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 204
                                                                         GRAND RAPIDS MI 49507
                                                                                                              ¨ Concluded
         WESTERN DISTRICT CA 19-
                                         COMMITTEE
         04266 UNSECURED CREDITOR

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.20.    IN RE SARAH AIR, LLC            FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         6 DIVISION AVE N                     ¨ On appeal
         US BANRUPTCY COURT
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 205
                                                                         GRAND RAPIDS MI 49508
                                                                                                              ¨ Concluded
         WESTERN DISTRICT CA 19-
                                         COMMITTEE
         04268 UNSECURED CREDITOR

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.21.    INTERLOGIC OUTSOURCING,         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
         INC. (IOI)                      PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
                                         AND BREACH OF CONTRACT.         6 DIVISION AVE N                     ¨ On appeal
         Case number                     ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 205
                                                                         GRAND RAPIDS MI 49508
                                                                                                              ¨ Concluded
         JOINTLY ADMINISTERED UNDER
                                         COMMITTEE
         CASE NO. 20-325 IN THE UNITED
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.




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Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.22.    INTERLOGIC OUTSOURCING,         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
         INC. (IOI)                      PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
                                         AND BREACH OF CONTRACT.         13 DIVISION AVE N                    ¨ On appeal
         Case number                     ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 212
                                                                         GRAND RAPIDS MI 49515
                                                                                                              ¨ Concluded
         JOINTLY ADMINISTERED UNDER
                                         COMMITTEE
         CASE NO. 20-325 IN THE UNITED
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.23.    IOI PAYROLL SERVICES, INC.      FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         7 DIVISION AVE N                     ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 206
                                                                         GRAND RAPIDS MI 49509
                                                                                                              ¨ Concluded
         CASE NO. 20-325 IN THE UNITED
                                         COMMITTEE
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.24.    IOI WEST, INC.                  FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         8 DIVISION AVE N                     ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 207
                                                                         GRAND RAPIDS MI 49510
                                                                                                              ¨ Concluded
         CASE NO. 20-325 IN THE UNITED
                                         COMMITTEE
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.25.    J.W. DOE V ARCHDIOCESE OF    ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL                                             STATE OF LOUISIANA                   ¨ On appeal
         RELIEF SOCIETY OF AMERICA,
         THE ROMAN CATHLOIC CHURCH
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
         ORLEANS, AND FATHER LA                                          NEW ORLEANS LA 70112
         WREN CE A. HECKER

         Case number

         2019-3947

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.26.    JAMES DOE V ARCHDIOCESE OF ABUSE CLAIM                          CIVIL DISTRICT COURT FOR THE         þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL RELIEF                                      STATE OF LOUISIANA                   ¨ On appeal
         SOCIETY OF AMERICA, THE
         ROMAN CATHOLIC CHURCH OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         THE                                                             421 LOYOLA AVE
         ARCHDIOCESE OF NEW                                              NEW ORLEANS LA 70112
         ORLEANS, FATHER MICHAEL
         FRASER
         AND FATHER PAUL CALAMARI

         Case number

         2019-1371




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         Case title                       Nature of case                 Court or agency's name and address   Status of case

7.27.    JB DOE V. ST. PAUL’S SCHOOL,     ABUSE CLAIM                    ORLEANS PARISH CIVIL DISTRICT        þ Pending
         INC., THE ROMAN CATHOLIC                                        COURT
         CHURCH OF THE ARCHDIOCESE                                       421 LOYOLA AVE                       ¨ On appeal
         OF NEW ORLEANS, THE
         CATHOLIC MUTUAL RELIEF
                                                                         RM 402
                                                                         NEW ORLEANS LA 70112
                                                                                                              ¨ Concluded
         SOCIETY OF AMERICA,
         LOUISIANA LASALLIAN
         EDUCATION CORPORATION,
         WILLIAM GIDDINGS, AND
         ARCHDIOCESE OF NEW
         ORLEANS INDEMNITY, INC.

         Case number
         20-03456

         Case title                       Nature of case                 Court or agency's name and address   Status of case

7.28.    JEFF ROE V THE ROMAN             ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS,
         AND CATHOLIC CHARITIES
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         ARCHDIOCESE OF NEW                                              421 LOYOLA AVE
         ORLEANS                                                         NEW ORLEANS LA 70112

         Case number
         2019-122237

         Case title                       Nature of case                 Court or agency's name and address   Status of case

7.29.    JOHN A DOE V ARCHDIOCESE         ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
         OF NEW ORLEANS INDEMNITY,                                       PARISH OF ORLEANS
         INC., THE CATHOLIC MUTUAL                                       STATE OF LOUISIANA                   ¨ On appeal
         RELIEF SOCIETY OF AMERICA,
         THE ROMAN CATHOLIC CHURCH
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
         ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
         MICHAEL FRASER

         Case number

         2019-11537

         Case title                       Nature of case                 Court or agency's name and address   Status of case

7.30.    JOHN DOE 2019-10827 V THE        ABUSE CLAIM                    CIVIL DISTRICT COURT FOR THE         þ Pending
         ROMAN CATHOLIC CHURCH                                           PARISH OF ORLEANS
         FOR THE ARCHDIOCESE OF                                          STATE OF LOUISIANA                   ¨ On appeal
         NEW.OR:TEANS                                                    CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         Case number                                                     421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
         2019-10827

         Case title                       Nature of case                 Court or agency's name and address   Status of case

7.31.    JOHN DOE I, JOHN DOE II, JOHN    ABUSE CLAIM                    UNITED STATES DISTRICT COURT         þ Pending
         DOE III, JOHN DOE IV, JOHN DOE                                  EASTERN DISTRICT OF LOUISIANA
         V V HOLY SEE (VATICAN CITY                                      500 POYDRAS STREET                   ¨ On appeal
         STATE)                                                          NEW ORLEANS LA 70130                 ¨ Concluded
         Case number
         UNDER SEAL




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7.32.    JOHN DOE V DEFENDANT A,       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         DEFENDANT B, AND                                               PARISH OF ORLEANS
         DEFENDANT C                                                    STATE OF LOUISIANA                   ¨ On appeal
         Case number
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
                                                                        421 LOYOLA AVE
         2019-11446
                                                                        NEW ORLEANS LA 70112

         Case title                    Nature of case                   Court or agency's name and address   Status of case

7.33.    JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
         Case number                                                    421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112
         2019-3716

         Case title                    Nature of case                   Court or agency's name and address   Status of case

7.34.    JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
         Case number                                                    421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112
         2020-01986

         Case title                    Nature of case                   Court or agency's name and address   Status of case

7.35.    JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                         PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, AND DEACON
         GEORGE BRIGNAC
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
                                                                        421 LOYOLA AVE
         Case number                                                    NEW ORLEANS LA 70112
         2018-10864

         Case title                    Nature of case                   Court or agency's name and address   Status of case

7.36.    JOHN DOE V THE ROMAN          ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC OF THE                                                PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                             STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
         Case number                                                    421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112
         2019-10038

         Case title                    Nature of case                   Court or agency's name and address   Status of case

7.37.    JOHN DOE V. ANO/JESUITS       ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
                                                                        PARISH OF ORLEANS
         Case number                                                    STATE OF LOUISIANA                   ¨ On appeal
         UNDER SEAL
                                                                        CLERK'S OFFICE, ROOM 402, CIVIL
                                                                        COURTS
                                                                                                             ¨ Concluded
                                                                        421 LOYOLA AVE
                                                                        NEW ORLEANS LA 70112




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7.38.    JOHN ROE I; JOHN ROE II; JOHN   ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         ROE III; AND JOHN ROE LV V                                      PARISH OF ORLEANS
         THE ROMAN CATHOLIC CHURCH                                       STATE OF LOUISIANA                   ¨ On appeal
         OF THE ARCHDIOCESE OF NEW
         ORLEANS, CATHOLIC CHARITIES
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         ARCHDIOCESE OF NEW                                              421 LOYOLA AVE
         ORLEANS, AND                                                    NEW ORLEANS LA 70112
         SALESIANS OF DON BOSCO,
         EASTERN PROVINCE IN THE
         USA D/B/A SALESIAN SOCIETY,
         INC.

         Case number
         18-11369

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.39.    JOHN ROE II V THE ROMAN         ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         NEW ORLEANS                                                     421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
         Case number

         2019-11169

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.40.    JOHN ROE III V THE ROMAN        ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         NEW ORLEANS                                                     421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
         Case number

         2019-11171

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.41.    JOHN ROE IV V THE ROMAN         ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         NEW ORLEANS                                                     421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
         Case number

         2019-11173

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.42.    JOSEPH MESSINA, JR. V UNION     ASBESTOS                        19TH JUDICIAL DISTRICT COURT         þ Pending
         CARBIDE CORPORATION, ET AL                                      PARISH OF EAST BATON ROUGE,
                                                                         LA                                   ¨ On appeal
         Case number                                                     300 NORTH BLVD
                                                                         BATON ROUGE LA 70801
                                                                                                              ¨ Concluded
         C-687430

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.43.    KRAMER, CONNIE                  WORKERS' COMPENSATION           N/A                                  þ Pending
                                         CLAIM
         Case number                                                                                          ¨ On appeal
         N/A                                                                                                  ¨ Concluded

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7.44.    L.L.S. V THE ROMAN CATHOLIC     ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         CHURCH FOR THE                                                  PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS,
         , ARCHDIOCESE OF NEW
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         ORLEANS INDEMNITY, INC., AND                                    421 LOYOLA AVE
         THE CATHOLIC MUTUAL RELIEF                                      NEW ORLEANS LA 70112
         SOCIETY OF AMERICA

         Case number
         2019-8551

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.45.    LAKEVIEW HOLDINGS, INC.         FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         9 DIVISION AVE N                     ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 208
                                                                         GRAND RAPIDS MI 49511
                                                                                                              ¨ Concluded
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                                         COMMITTEE
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.46.    LAKEVIEW TECHNOLOGY, INC.       FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         10 DIVISION AVE N                    ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 209
                                                                         GRAND RAPIDS MI 49512
                                                                                                              ¨ Concluded
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                                         COMMITTEE
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.47.    LON DOE V ARCHDIOCESE OF     ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL RELIEF                                      STATE OF LOUISIANA                   ¨ On appeal
         SOCIETY OF AMERICA, THE
         ROMAN CATHOLIC CHURCH OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         THE ARCHDIOCESE OF NEW                                          421 LOYOLA AVE
         ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
         MICHAEL FRASER

         Case number

         2019-11575

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.48.    MODEARN, INC.                   FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         11 DIVISION AVE N                    ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 210
                                                                         GRAND RAPIDS MI 49513
                                                                                                              ¨ Concluded
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                                         COMMITTEE
         STATES BANKRUPTCY COURT
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7.49.    N.P. V THE ROMAN CATHOLIC      ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CHURCH OF THE ARCHDIOCESE                                       PARISH OF ORLEANS
         OF NEW ORLEANS                                                  STATE OF LOUISIANA                   ¨ On appeal
         Case number
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
                                                                         421 LOYOLA AVE
         2019-11670
                                                                         NEW ORLEANS LA 70112

         Case title                     Nature of case                   Court or agency's name and address   Status of case

7.50.    RAYMOND ROE V THE ROMAN        ABUSE CLAIM                      CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OFNEW                                               STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS,
         AND CATHOLIC CHARITIES
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         ARCHDIOCESE OF NEW                                              421 LOYOLA AVE
         ORLEANS                                                         NEW ORLEANS LA 70112

         Case number

         2019-12233

         Case title                     Nature of case                   Court or agency's name and address   Status of case

7.51.    S.R.L.AND BL V. THE            ABUSE CLAIM                      ORLEANS PARISH CIVIL DISTRICT        þ Pending
         ARCHDIOCESE OF NEW                                              COURT
         ORLEANS, HOLY CROSS                                             421 LOYOLA AVE                       ¨ On appeal
         COLLEGE, INC. D/B/A HOLY
         CROSS SCHOOL; A.G.; C.L.
                                                                         RM 402
                                                                         NEW ORLEANS LA 70112
                                                                                                              ¨ Concluded
         Case number

         20-03123

         Case title                     Nature of case                   Court or agency's name and address   Status of case

7.52.    THE ARCHDIOCESE OF NEW         SUBROGATION OF WORKERS           CIVIL DISTRICT COURT PARISH OF       þ Pending
         ORLEANS AS SUBROGEE OF         COMPENSATION AND MEDICAL         ORLEANS
         CYNTHIA JOHNSON VS. STEVE      BENEFITS PAID AS A RESULT OF     421 LOYOLA AVE                       ¨ On appeal
         MARINO, GEICO CASUALTY
         COMPANY
                                        AUTO ACCIDENT                    ROOM 402
                                                                         NEW ORLEANS LA 70112
                                                                                                              ¨ Concluded
         Case number
         CIVIL DISTRICT COURT PARISH
         OF ORLEANS NO. 2020-2329
         SUBROGATION

         Case title                     Nature of case                   Court or agency's name and address   Status of case

7.53.    THE ROMAN CATHOLIC CHURCH      LAND DAMAGE DISPUTE              32ND JDC- TERREBONNE PARISH          þ Pending
         OF THE ARCHDIOCESE OF NEW                                       7856 MAIN ST.
         ORLEANS AND POINT AU FER,                                       HOUMA LA 70360                       ¨ On appeal
         LLC VS. CARUTHERS
         PRODUCING CO, INC.,
                                                                                                              ¨ Concluded
         ANADARKO OGC COMPANY,
         LLOG EXLORATION COMPANY
         LLC, ROGER L. HEBERT, SWEPI
         LP, CHEVRON USA, INC., BASF
         CORPORATION, ENI OIL & GAS
         INC., CABOT OIL & GAS
         CORPORATION, HELIS OIL &
         GAS, LLC, LEGACY ENERGY
         CORPORATION, CODY ENERGY
         LLC, SUNOCO INC., KERR-
         MDGEE OIL & GAS ONSHORE LP

         Case number

         32ND JDC- TERREBONNE
         PARISH CA 169160 LEGACY
         LITIGATION PLAINTIFF

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  Case 20-10846 Doc 203-4 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 4 Page 17 of 17
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                                             of 567
Debtor    The Roman Catholic Church of the Archdiocese of New Orleans                            Case number (if known) 20-10846

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.54.    THE ROMAN CATHOLIC CHURCH CLEAR TITLE TO 1941 DAUPHINE          CIVIL DISTRICT COURT PARISH OF       þ Pending
         OF THE ARCHDIOCESE OF NEW STREET NEW ORLEANS, LA                ORLEANS
         ORLEANS VS. SOCIETE         70116                               421 LOYOLA AVE                       ¨ On appeal
         CATHOLIQUE POUR
         L'INSTRUCION DES ORPHELENIS
                                                                         ROOM 402
                                                                         NEW ORLEANS LA 70112
                                                                                                              ¨ Concluded
         DANS L'INDIGENCE A/K/A THE
         CATHOLIC SOCIETY FOR THE
         INSTRCTION OF INDIDGENT
         OPRHANS, CONSTANTINE
         MAEHNAUT; SUCCESSIO OF
         MARIE JUSTINE CIRNAIRE
         COUVENT: AND HENRY
         FLETCHER

         Case number

         CIVIL DISTRICT COURT PARISH
         OF ORLEANS NO. 2019-0106
         QUIET TITLE ACTION

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.55.    TIMEPLUS SYSTEMS, LLC           FORMER PAYROLL SERVICE          US BANKRUPTCY COURT                  þ Pending
                                         PROVIDER, PAYROLL FRAUD         WESTERN DISTRICT MICHIGAN
         Case number                     AND BREACH OF CONTRACT.         12 DIVISION AVE N                    ¨ On appeal
         JOINTLY ADMINISTERED UNDER
                                         ARCHDIOCESE IS A MEMBER OF
                                         THE UNSECURED CREDITORS
                                                                         STE 211
                                                                         GRAND RAPIDS MI 49514
                                                                                                              ¨ Concluded
         CASE NO. 20-325 IN THE UNITED
                                         COMMITTEE
         STATES BANKRUPTCY COURT
         FOR THE WESTERN DISTRICT
         OF MICHIGAN, KALAMAZOO
         DIVISION.

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.56.    TOM DOE V ARCHDIOCESE OF     ABUSE CLAIM                        CIVIL DISTRICT COURT FOR THE         þ Pending
         NEW ORLEANS INDEMNITY, INC.,                                    PARISH OF ORLEANS
         THE CATHOLIC MUTUAL                                             STATE OF LOUISIANA                   ¨ On appeal
         RELIEF SOCIETY OF AMERICA,
         THE ROMAN CATHOLIC CHURCH
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         OF THE ARCHDIOCESE OF NEW                                       421 LOYOLA AVE
         ORLEANS, AND FATHER                                             NEW ORLEANS LA 70112
         MICHAEL FRASER

         Case number

         2019-8559

         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.57.    UNITED STATES OF AMERICA        _____________________________ UNITED STATES DISTRICT COURT           þ Pending
                                                                       EASTERN DISTRICT OF LOUISIANA
         Case number                                                   500 POYDRAS STREET                     ¨ On appeal
         UNDER SEAL
                                                                       NEW ORLEANS LA 70130                   ¨ Concluded
         Case title                      Nature of case                  Court or agency's name and address   Status of case

7.58.    WEST ROE V THE ROMAN            ABUSE CLAIM                     CIVIL DISTRICT COURT FOR THE         þ Pending
         CATHOLIC CHURCH OF THE                                          PARISH OF ORLEANS
         ARCHDIOCESE OF NEW                                              STATE OF LOUISIANA                   ¨ On appeal
         ORLEANS, AND CATHOLIC
         CHARITIES ARCHDIOCESE OF
                                                                         CLERK'S OFFICE, ROOM 402, CIVIL
                                                                         COURTS
                                                                                                              ¨ Concluded
         NEW ORLEANS                                                     421 LOYOLA AVE
                                                                         NEW ORLEANS LA 70112
         Case number

         2019-12228




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